8:13-cr-00106-JFB-RCC         Doc # 250     Filed: 11/04/14    Page 1 of 1 - Page ID # 1570




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:13CR106
                      Plaintiff,               )
                                               )
         vs.                                   )                  ORDER
                                               )
WARREN TIDWELL,                                )
                                               )
                      Defendant.               )
         This matter is before the court on the motion to continue by defendant Warren
Tidwell (Tidwell) (Filing No. 249). Tidwell seeks a continuance of the trial of this matter
scheduled for November 17, 2014. Tidwell’s counsel represents Tidwell will file an affidavit
whereby Tidwell consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act. Tidwell’s counsel
represents that government’s counsel has no objection to the motion. Upon consideration,
the motion will be granted.


         IT IS ORDERED:
         1.    Tidwell's motion to continue trial (Filing No. 249) is granted.
         2.    Trial of this matter is re-scheduled for January 5, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 4, 2014, and January 5, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 4th day of November, 2014.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
